          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:09cr85


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
CARLTON MAURICE RUFFIN. )
                          )



     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 39]. For the reasons stated in the motion, it will

be granted.

     IT IS, THEREFORE, ORDERED that the Defendant’s bill of

indictment is hereby dismissed without prejudice.

                                      Signed: August 3, 2009




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